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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS

In re:
         CHRISTINE M. GOODREAU,                             CHAPTER 7
              Debtor,                                       CASE NO. 19-30144-EDK

                                OPPOSITION TO
                    MOTION FOR RELIEF FROM AUTOMATIC STAY

         Now comes Christine M. Goodreau, the above referenced debtor, (the “Debtor”) and

hereby files this Opposition to the “Motion of U.S. Bank National Association, As Indenture

Trustee, for the CIM Trust 2016-3, Mortgage-Backed Notes, Series 2016-3 For Relief From The

Automatic Stay Pursuant to 11 U.S.C.§ 362” (hereinafter the “MFR”) filed by U.S. Bank

National Association, As Indenture Trustee, for the CIM Trust 2016-3, Mortgage-Backed Notes,

Series 2016-3 (hereinafter “US Bank”).

         1.     The Debtor’s main concern is that US Bank is requesting that the Automatic Stay

be lifted so that US Bank “may commence a summary process action against occupants of the

Property.”

         2.     However, US Bank admits that the real property securing their mortgage is owned

by the Debtor. MFR at ¶ 2. Therefore US Bank is not “a person [who] has acquired title to land

or tenements” under M.G.L. c. 239 § 1 and therefore has no standing to bring a summary process

action to dispossess of the Debtor of her home. M.G.L. c. 239 § 1.

         Pursuant to MLBR 4001-1(c), the Debtor responds to the MFR as follows:

         3.     The Debtor admits the allegations in Paragraph 1.

         4.     The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 2.




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       5.       The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 3.

       6.       The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 4.

       7.       The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 5.

       8.       The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 6.

       9.       The Debtor admits the allegations in Paragraph 7.

       10.      The Debtor admits the allegations in Paragraph 8.

       11.      The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 9.

       12.      The Debtor admits the allegations in Paragraph 10.

       13.      The Debtor admits the allegations in Paragraph 11.

       14.      The Debtor admits the allegations in Paragraph 12.

       15.      The Debtor admits the allegations in Paragraph 13.

       16.      The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 14.

       17.      The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 15.

       18.      The Debtor admits the allegations in Paragraph 16.

       19.      The Debtor has insufficient knowledge to admit or deny the allegations in

Paragraph 17.




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        20.     The Debtor denies the allegations in Paragraph 18 and further states that she has

made some payments towards the Note and Mortgage and that U.S. Bank is not entitled to the

relief it is requesting.

        21.     The Debtor denies the allegations in Paragraph 19 and further states that U.S.

Bank is not entitled to the relief it is requesting.

        WHEREFORE, Christine M. Goodreau respectfully requests that this Honorable Court

deny the “Motion of U.S. Bank National Association, As Indenture Trustee, for the CIM Trust

2016-3, Mortgage-Backed Notes, Series 2016-3 For Relief From The Automatic Stay Pursuant to

11 U.S.C.§ 362” as Movant US Bank is not entitled to the relief it is requesting, and grant such

other and further relief as may be just and proper.

                                                           Respectfully submitted,
                                                           Christine M. Goodreau,
                                                           By Debtor’s Attorney,

Dated: March 22, 2019                                      __/s/ Susan Grossberg_____________
                                                           Susan Grossberg (BBO # 561461)
                                                           Heisler, Feldman & McCormick, PC
                                                           293 Bridge Street, Suite 322
                                                           Springfield, MA 01103
                                                           Ph: (413)788-7988 x104
                                                           Fax: (413)788-7996
                                                           E-mail: sgrossberg@hfmgpc.com


                                    CERTIFICATE OF SERVICE

       I, Susan Grossberg, certify that on this day I filed the foregoing via the CM/ECF System
and by doing so served same upon the following CM/ECF participants:

Richard King, Asst. US Trustee
Gary M. Weiner, Chapter 7 Trustee
Craig B. Rule on behalf of Creditor U.S. Bank National Association, as indenture trustee, for the
       CIM Trust 2016-3, Mortgage-Backed Notes, Series 2016-3




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       I further certify that I have this date served a copy of same via U.S. Mail, postage
prepaid, or email were specified, on the following non-CM/ECF participant:

Christine Goodreau
14 Crescent Hill
East Longmeadow, MA 01028

Dated: March 22, 2019                                __/s/ Susan Grossberg_____________
                                                     Susan Grossberg




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